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 1 Matthew Borden, Esq. (SBN: 214323)
      borden@braunhagey.com
 2 David H. Kwasniewski, Esq. (SBN: 281985)
      kwasniewski@braunhagey.com
 3 BRAUNHAGEY & BORDEN LLP
   351 California Street, 10th Floor
 4 San Francisco, CA 94104
   Telephone: (415) 599-0210
 5 Facsimile: (415) 599-0210

 6 ATTORNEYS FOR DEFENDANT
   YUMMYEARTH, INC.
 7

 8                             UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

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11
                                                 Case No.: 4:22-cv-02739-KAW
12   JENNIFER MARINO, individually, and on
     behalf of those similarly situated,         JOINT STIPULATION TO EXTEND
13                                               TIME FOR DEFENDANT TO ANSWER
                 Plaintiff,                      OR OTHERWISE RESPOND TO
14
          v.                                     COMPLAINT
15
     YUMMYEARTH, INC.,                           Complaint Filed: May 8, 2022
16
                 Defendant.
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                                                                 Case No.: 4:22-cv-02739-KAW
          JOINT STIPULATION TO EXTEND TIME FOR DEFENDANT TO RESPOND TO COMPLAINT
          Case 3:22-cv-02739-VC Document 12 Filed 06/22/22 Page 2 of 3




 1         Pursuant to Civil Local Rules 6-1(a), 6-2, and 7-12, Plaintiff Jennifer Marino and Defendant

 2 YummyEarth, Inc., by and through their respective counsel of record, hereby STIPULATE as

 3 follows:

 4         1.      WHEREAS, Plaintiff filed the Complaint (ECF. No. 1) on May 8, 2022, and filed

 5 an Executed Summons on June 21, 2022 (ECF No. 9);

 6         2.      WHEREAS, the parties have conferred and agree that good cause exists to extend

 7 the deadline for Defendant to answer or otherwise respond to the Complaint to July 22, 2022; and

 8         3.      WHEREAS, nothing in this stipulation would affect any other deadline or the case

 9 management schedule in the litigation.

10         NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the parties,

11 through their counsel, that the time within which Defendant is required to answer or otherwise

12 respond to Plaintiff’s Complaint is extended to July 22, 2022.

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14 IT IS SO STIPULATED.

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16 Dated: June 22, 2022                         Respectfully submitted,

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                                                By:     /s/ David H. Kwasniewski
18                                                      David H. Kwasniewski
                                                        BRAUNHAGEY & BORDEN LLP
19                                                      351 California Street, 10th Floor
                                                        San Francisco, CA 94104
20                                                      Tel & Fax: (415) 599-0210
                                                        Email: kwasniewski@braunhagey.com
21
                                                        Attorneys for Defendant
22                                                      YummyEarth, Inc.
23
                                                By:     /s/ John Ryan Gustafson
24                                                      John Ryan Gustafson
                                                        GOOD GUSTAFSON AUMAIS LLP
25                                                      2330 Westwood Blvd., Suite no. 103
                                                        Los Angeles, CA 90064
26                                                      Tel: (310) 274-4663
                                                        Email: jrg@ggallp.com
27
                                                        Attorneys for Plaintiff Jennifer Marino
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           Case 3:22-cv-02739-VC Document 12 Filed 06/22/22 Page 3 of 3



                                                 ATTESTATION
 1
               Pursuant to Civil L.R. 5-1(h), I, David H. Kwasniewski, attest that all signatories listed, and
 2
     on whose behalf the filing is submitted, concur in the filing’s content, and have authorized the
 3
     filing.
 4

 5
     Dated: June 22, 2022                            By:     /s/ David H. Kwasniewski
 6                                                           David H. Kwasniewski
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                                                   2                  Case No.: 4:22-cv-02739-KAW
               JOINT STIPULATION TO EXTEND TIME FOR DEFENDANT TO RESPOND TO COMPLAINT
